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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                           )
    In re:                                                 )    Chapter 11
                                                           )
    FIRST GUARANTY MORTGAGE                                )    Case No. 22-10584 (CTG)
    CORPORATION, et al.,1                                  )
                                                           )    (Jointly Administered)
                                Debtors.                   )
                                                           )

    AMENDED2 NOTICE OF AGENDA OF MATTERS SCHEDULED FOR HEARING ON
         DECEMBER 21, 2023 AT 10:00 A.M. (PREVAILING EASTERN TIME)
          BEFORE THE HONORABLE CRAIG T. GOLDBLATT IN THE U.S.
              BANKRUPTCY COURT, 824 NORTH MARKET STREET,
          3rd FLOOR, COURTROOM 7, WILMINGTON, DELAWARE 19801


                            This hearing will be conducted entirely over Zoom.

                   Please see below for the connection and registration information.

     Please Note: All individuals participating must register no later than 4:00 p.m. (ET) on
      December 20, 2023 at the provided link. After registering your appearance by Zoom,
     you will receive a confirmation email containing information about joining the hearing.
                 You must use your full name when registering and logging into
                      Zoom or you will not be granted access to the hearing.

                                           Registration Link:
             https://debuscourts.zoomgov.com/meeting/register/vJItf-yvrDguH8cUU9nB3a8GY-
                                              JzQ3SLF9E




CONTESTED MATTERS:

1.           Fourth Omnibus Objection to Misclassified Claims (Substantive) (Filed October 20,
             2023) [Docket No 1000]


1
  The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
  number, are: First Guaranty Mortgage Corporation (9575); and Maverick II Holdings, LLC (5621). The location
  of the corporate headquarters and the service address for First Guaranty Mortgage Corporation is 13901 Midway
  Road, Suite 102-334, Dallas, TX 75244.
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   Amended items are indicated in bold.



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        Response Deadline: November 20, 2023 at 4:00 p.m.

        Responses Received:

        A.       Response in Opposition to Fourth Omnibus Objection to Claims (Substantive)
                 (related document(s)1000) (Filed November 17, 2023) [Docket No. 1037]

        B.       Informal Response from Bella Place Trust

        Related Documents:

        A.       Notice of Submission of Proofs of Claim in Connection with Fourth Omnibus
                 Objection to Misclassified Claims (Filed November 13, 2023) [Docket 1031]

        B.       Certification of Counsel Regarding Fourth Omnibus Objection to Claims
                 (Substantive) (Filed November 22, 2023) [Docket No. 1048]

        C.       [Signed] Order Regarding Fourth Omnibus Objection to Claims (Substantive)
                 (Filed November 27, 2023) [Docket No. 1053]

        D.       Notice of Withdrawal of Fourth Omnibus Objection to Misclassified Claims
                 (Substantive) Solely as to Claim Number 293 (Filed 12/11/23) [Docket No. 1066]

        E.       Notice of Withdrawal of Fourth Omnibus Objection to Misclassified Claims
                 (Substantive) Solely as to Claim Number 275 (Filed 12/18/23) [Docket No. 1071]

        F.       Liquidating Trustee’s Witness and Exhibit List for Hearing on December 21,
                 2023 at 10:00 a.m. (ET) (Filed 12/19/23) [Docket No. 1073]

        Replies Filed:

        A.       Liquidating Trustee's Reply in Support of Objection to Bella Place Trust's Claim
                 (Filed December 18, 2023) [Docket No. 1072]

        Status: This matter is going forward with respect to the claims filed by Bella Place
                Trust.

2.      Motion to Enforce Confirmation Order [Reply of the PIMCO Parties for Contempt for
        Violations of the Court's Enforcement Order and Confirmation Order] (Filed 10/31/23)
        [Docket No. 1017]

        Response Deadline: December 1, 2023 at 4:00 p.m.

        Responses and Replies Received:

        A.       Relator’s Response to the PIMCO Parties Motion to Enforce (Filed 12/1/23)
                 Docket No. 1062]



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        B.        Reply of the PIMCO Parties in Further Support of their Motion to Enforce the
                  Confirmation Order Against the Proposed Third Amended Complaint in the Qui
                  Tam Litigation (Filed 12/15/23) [Docket No. 1070]

        Related Documents:

        A.        Order (I) Denying the PIMCO Parties' Motion for Contempt; and (II) Setting
                  Deadlines (Filed 11/13/23) [Docket No. 1032]

        B.        Notice of Motion and Hearing (Filed 11/17/2023) [Docket No. 1039]

        C.        Notice of Filing of Proposed Order (Filed 11/29/23) [Docket No. 1060]

        D.        Exhibit and Witness List of Relator Kari Crutcher for the Hearing on
                  December 21, 2023 at 10:00 a.m. (ET) (Filed 12/19/23) [Docket No. 1075]

        E.        The PIMCO Parties’ Exhibit List for the December 21, 2023 Hearing on
                  their Motion to Enforce the Plan and Confirmation Order (Filed 12/19/23)
                  [Docket No 1076]

        Status:     This matter is going forward.


  Dated: December 20, 2023                          PACHULSKI STANG ZIEHL & JONES LLP


                                                    /s/ Laura Davis Jones
                                                    Laura Davis Jones (DE Bar No. 2436)
                                                    Timothy P. Cairns (DE Bar No. 4228)
                                                    Mary F. Caloway (DE Bar No. 3059)
                                                    919 North Market Street, 17th Floor
                                                    P.O. Box 8705
                                                    Wilmington, Delaware 19899 (Courier 19801)
                                                    Telephone: (302) 652-4100
                                                    Facsimile: (302) 652-4400
                                                    Email: ljones@pszjlaw.com
                                                            tcairns@pszjlaw.com
                                                            mcaloway@pszjlaw.com

                                                    -and -




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                                        DENTONS US LLP

                                        Samuel R. Maizel
                                        Tania M. Moyron
                                        601 S. Figueroa Street, #2500
                                        Los Angeles, CA 90017
                                        Telephone: (213) 623-9300
                                        Email: samuel.maizel@dentons.com
                                                tania.moyron@dentons.com


                                        Counsel for Debtors and Liquidating Trustee




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